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    June 13, 2024
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    VIA ECF

    The Honorable Jesse M. Furman
    United States District Judge
    40 Foley Square
    New York, New York 10007

    Re:    Mitchem, Jr. v. New York University et al
           Case No.: 1:23-cv-07320

    Dear Judge Furman:

    Please be advised that upon that Ballon Stoll P.C., attorneys Marshall Bellovin, Esq and Steven
    Balken, Esq., no longer represent the plaintiff in the above-referenced action. We respectfully
    request that the aforementioned attorneys’ names be removed from the docket and no subsequent
    ECF notifications be sent to the following e-mail addresses: mbellovin@ballonstoll.com,
    ballonstolldistribution@ballonstoll.com, obrunson@ballonstoll.com and
    sbalken@ballonstoll.com.

    Respectfully submitted,

          s/Marshall Bellovin
    Marshall B. Bellovin, Esq. (MB5508)
    Member of the Firm

    Steven Balken (SB 0525)

    CC:    All Counsel of Record (via ECF)
           Zoe Salzman, Esq. (via e-mail)
